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1    CENTER FOR HUMAN RIGHTS & CONSTITUTIONAL LAW
     Peter A. Schey (Cal. Bar No. 58232)
2
     Carlos Holguín (Cal. Bar No. 90754)
3    256 South Occidental Boulevard
     Los Angeles, CA 90057
4
     Telephone: (213) 388-8693
5    Facsimile: (213) 386-9484
     Email: pschey@centerforhumanrights.org
6
            crholguin@centerforhumanrights.org
7
     ORRICK, HERRINGTON & SUTCLIFFE LLP
8    Elena Garcia (Cal. Bar No. 299680)
9    egarcia@orrick.com
     777 South Figueroa Street, Suite 3200
10   Los Angeles, CA 90017
11   Telephone: (213) 629-2020
12   Attorneys for plaintiffs (listing continues on following page)
13
                           UNITED STATES DISTRICT COURT
14                CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
15
16   JENNY LISETTE FLORES, et al.,         )      Case No. CV 85-4544 DMG (AGRx) 
                                           )
17          Plaintiffs,                    )      STIPULATION REQUESTING SECOND
18   - vs -                                )      EXTENSION OF DUE DATE FOR PARTIES’
                                           )      SUBMISSION(S) RE SPECIAL
19   JEFFERSON B. SESSIONS, ATTORNEY       )      MASTER/INDEPENDENT MONITOR
20   GENERAL OF THE UNITED STATES, et al., )      NOMINATIONS AND DUTIES AND
                                           )      DEFENDANTS’ RESPONSES TO
21          Defendants.                    )      PLAINTIFFS’ DECLARATIONS
22                                         )
                                                  HEARING: N/A
23   _
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1
2    Plaintiffs’ counsel, continued
     :
3
4    LA RAZA CENTRO LEGAL, INC.
     Michael S. Sorgen (Cal. Bar No. 43107)
5
     474 Valencia Street, #295
6    San Francisco, CA 94103
     Telephone: (415) 575-3500
7
8    THE LAW FOUNDATION OF SILICON VALLEY
9
     LEGAL ADVOCATES FOR CHILDREN AND YOUTH
     PUBLIC INTEREST LAW FIRM
10   Jennifer Kelleher Cloyd (Cal. Bar No. 197348)
11
     Katherine H. Manning (Cal. Bar No. 229233)
     Annette Kirkham (Cal. Bar No. 217958)
12   152 North Third Street, 3rd floor
13   San Jose, CA 95112
     Telephone: (408) 280-2437
14   Facsimile: (408) 288-8850
15   Email: jenniferk@lawfoundation.org
            kate.manning@lawfoundation.org
16          annettek@lawfoundation.org
17
     Of counsel:
18
19   YOUTH LAW CENTER
     Virginia Corrigan (Cal. Bar No. 292035)
20   200 Pine Street, Suite 300 
21   San Francisco, CA 94104
     Telephone: (415) 543-3379
22
23
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2          On July 27, 2018, athe Court conducted a status conference to address
3
     Defendants’ compliance with the Flores Agreement and the Court’s June 27, 2018
4
5    Order. On July 27, 2018, the Court issued a Minute Order [Docket # 469] requiring
6
     the Parties to meet and confer and to file a joint status report by August 10, 2018,
7
     regarding candidates for the position of Special Master/Independent Monitor and
8
9    her/his duties. The Court also ordered Defendants to file a response to Plaintiffs’
10
     declarations by August 10, 2018, for review by the Independent Monitor once he or
11
     she is appointed.
12
13         On August 9, 2018, the parties requested an additional week to consider these
14
     issues and to determine whether they could reach resolution before submitting their
15
16
     joint status report to the Court. [Dkt. # 471]. Accordingly, the parties asked the Court

17   to extend the deadline for their joint status report, as well as the deadline for
18
     Defendants’ filing in response to Plaintiffs’ declarations, to August 17, 2018. Counsel
19
20
     for Plaintiffs and Defendants had conferred and agreed that additional time was

21   needed to adequately prepare their recommendations for the Court regarding the
22
     appointment of a Special Master/Independent Monitor.
23
24         Counsel for Plaintiffs and Defendants have continued to confer via email and

25   telephone regarding the Court’s Minute Order of July 27, 2018. The parties have
26
     exchanged the names and information about possible Special Monitors and have
27
28   discussed the scope of her or his duties. At the same time, Plaintiffs have recently

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1    received additional resumes from potential candidates and need additional time to
2    interview these candidates. Despite their on-going discussions and exchanges of
3
     information, the parties need additional time to adequately respond to the Court’s
4
5    Minute Order of July 27, 2018.
6
           The parties therefore respectfully request that the date for their response to this
7
     Court’s Minute Order of July 27, 2018, be continued for one additional week to and
8
9    including August 24, 2018.
10
     Dated: August 20, 2018                 Respectfully submitted,
11
12
                                            CENTER FOR HUMAN RIGHTS &
13                                          CONSTITUTIONAL LAW
                                            Peter A. Schey
14
                                            Carlos Holguín
15
                                            ORRICK, HERRINGTON & SUTCLIFFE LLP
16                                          Elena García
17
                                            LA RAZA CENTRO LEGAL, INC.
18                                          Michael Sorgen
19
                                            LAW FOUNDATION OF SILICON VALLEY -
20                                          LEGAL ADVOCATES FOR CHILDREN & YOUTH
21
                                            Jennifer Kelleher Cloyd
                                            Katherine H. Manning
22                                          Annette Kirkham
23                                          Of counsel:
24
                                            YOUTH LAW CENTER
25                                          Virginia Corrigan
26
                                            /s/Peter Schey
27                                          Attorneys for Plaintiffs
28
     Dated: August 20, 2018                          /s/ Sarah Fabian___________
                                                 2
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1                                       SARAH B. FABIAN
                                        Senior Litigation Counsel
2                                       District Court Section
3                                       Office of Immigration Litigation
                                        Attorneys for Defendants
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1
2                                    CERTIFICATE OF SERVICE
3
           I, Peter Schey, declare and say as follows:
4
5          I am over the age of eighteen years of age and am a party to this action. I am
6
     employed in the County of Los Angeles, State of California. My business address is
7
     256 S. Occidental Blvd., Los Angeles, CA 90057, in said county and state.  
8
9          On August 20, 2018, I electronically filed the following document(s):
10
           STIPULATION REQUESTING SECOND EXTENSION OF DUE DATE FOR PARTIES’
11         SUBMISSION(S) RE SPECIAL MASTER/INDEPENDENT MONITOR NOMINATIONS AND
           DUTIES AND DEFENDANTS’ RESPONSES TO PLAINTIFFS’ DECLARATIONS
12
13   with the United States District Court, Central District of California by using the
14   CM/ECF system. Participants in the case who are registered CM/ECF users will be
15
     served by the CM/ECF system.
16
17                                                   /s/Peter Schey
                                                     Attorney for Plaintiffs
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